818 F.2d 31
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.John CAMPOPIANO, Petitioner-Appellant,v.U.S.  ATTORNEY GENERAL, Respondent-Appellee.
    No. 87-1019.
    United States Court of Appeals, Sixth Circuit.
    May 14, 1987.
    
      Before JONES and NELSON, Circuit Judges;  and CELEBREZZE, Senior Circuit Judge.
    
    ORDER
    
      1
      Appellant moves to proceed for appointment of counsel on appeal from the district court's order which dismissed appellant's cause.
    
    
      2
      It appears that appellant is serving a sentence imposed after being convicted of violations of 21 U.S.C. Sec.Sec. 841(a)(1) and 846.  He filed a document he titles "Petition for Review Pursuant to the Administrative Procedure Act" in which he attacks the imposition of his sentence on the basis that the statutes under which he was charged are civil in nature and that the Attorney General has been delegated excessive authority under 21 U.S.C. Sec.801 et seq.
    
    
      3
      The district court correctly concluded that this document should be construed as a motion to vacate sentence because it attacks the imposition of sentence.  See 28 U.S.C. Sec. 2255;  Wright v. United States Board of Parole, 557 F.2d 74, 77 (6th Cir. 1977).  The district court further correctly concluded that the proper court to review a motion to vacate sentence is the court that imposed sentence.  United States v. Addonizio, 442 U.S. 178, 185 (1979).
    
    
      4
      Upon consideration of the record and appellant's informal brief, the panel unanimously agrees that oral argument is unnecessary.  Rule 34(a), Federal Rules of Appellate Procedure.  The motion for appointment of counsel is denied and the judgment of the district court is affirmed.  Rule 9(b)(5), Rules of the Sixth Circuit.
    
    